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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X

Jane Doe,

                          Plaintiff,                                No. 1:24-cv-8054

                 v.

SEAN COMBS, DADDY’S HOUSE RECORDINGS INC.,                                  COMPLAINT AND
CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a                                       DEMAND FOR
COMBS ENTERPRISES LLC, BAD BOY                                              JURY TRIAL
ENTERTAINMENT HOLDINGS, INC.,
BAD BOY PRODUCTIONS HOLDINGS, INC.,
BAD BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT LLC,
BAD BOY PRODUCTIONS LLC, MARRIOTT
INTERNATIONAL, INC and ORGANIZATIONAL DOES 1-10.

                          Defendants.

-------------------------------------------------------X

                 Plaintiff Jane Doe (“Plaintiff”), by and through her attorneys, The Buzbee Law

Firm, for her Complaint alleges as follows:

                                             INTRODUCTION

        1.       This case seeks both compensatory and punitive damages for aggravated sexual

assault of Plaintiff Jane Doe. The conduct described herein is violent and shockingly typical of

Defendant Sean Combs. Aided and enabled by numerous individuals and entities, Sean Combs for

many years believed he was above the law. He is not.

        2.       For decades, Sean Combs (a/k/a “P. Diddy,” a/k/a “Puff Daddy,” a/k/a “Diddy,”

a/k/a “PD,” and a/k/a “Love”) (herein as “Combs”) abused, molested, raped, assaulted, threatened

and coerced women, men and minors for sexual gratification, to assert dominance, and to conceal

his abhorrent conduct. Combs accomplished these acts by and through a criminal enterprise built
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on his success as a rapper, record producer and record executive. Combs is reportedly one of the

wealthiest musical artists in the world. Behind the façade of being a three-time Grammy Award

winner, discovering and developing multiple famous musical artists, and ranking on Forbes’ list

of the highest-paid entertainers in the world, there existed something sinister– a dark underbelly

of crime, sex trafficking, forced labor, kidnapping, bribery and prostitution. Combs is a menace to

society, women, men and children. While his wealth has kept him above consequence for years,

Combs now faces the awesome power of the American judicial system and ultimately a jury of his

peers who will be asked to punish him for the deplorable conduct described herein.

       Combs’ Businesses

       3.      Combs’ business enterprise is central to the pervasive acts of sexual assault and

abuse committed by he, his posse, and his pals during the last decades. Combs operated his

business, headquartered at various times in Manhattan and Los Angeles, under a variety of United

States-based corporate entities, including Bad Boy Entertainment, Bad Boy Books Holdings, Inc.,

Bad Boy Records LLC, Bad Boy Entertainment, LLC, Bad Boy Productions, LLC, Daddy’s House

Recording Studio, Inc., and CE OPCO, LLC d/b/a Combs Global, f/k/a Combs Enterprises LLC,

Combs Enterprises and Combs Global (collectively, the “Combs Business”). Corporate entities in

the Combs Business portfolio included record labels, a recording studio, an apparel line, an

alcoholic spirits promoting business, a marketing agency, talent discovery, a television network

and media company.

       4.      On the surface, each of these businesses served a legitimate purpose related to

entertainment, music and other subjects. But in reality, Combs, by and through himself and his

agents, employees and contractors, used these businesses to sexually assault, abuse, threaten and

coerce hundreds of individuals through sexual quid pro quo schemes, as well as to take advantage
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of individuals with impunity thinking the victims would never have any recourse. Combs and his

agents, employees and contractors, through these Combs Businesses, would tell victims, “this is

what it takes to be famous,” “what are you willing to do to become a star?,” and “perform this

sexual act or else” to coerce, cajole, or force the victim into performing a non-consensual sexual

act for the gratification of Combs and his cohorts.

       5.      Members and associates of the Combs Business engaged in (and/or attempted to

engage in), among other activities, sex trafficking, forced labor, interstate transportation for the

purposes of prostitution, coercion and enticement to engage in prostitution, narcotics offenses,

kidnapping, arson, bribery, and obstruction of justice.

       6.      The Combs Business constituted an ongoing organization whose members

functioned as a continuing unit for a common purpose of achieving the objectives of Combs.

       Combs’ Pervasive History of Sexual Assault and Violence

       7.      For years Combs and his businesses engaged in a persistent and pervasive pattern

of abuse toward women, men, and minors. This abuse was, at times, verbal, emotional, physical

and sexual. As part of his pattern of abuse, Combs manipulated both men and women to participate

in highly-orchestrated performances of sexual activity with both commercial sex workers and

unsuspecting partygoers. Combs ensured participation from these individuals by, among other

things, obtaining and distributing narcotics to them with or without their knowledge, controlling

their careers, leveraging his financial support and threatening to cut off the same, and using

intimidation, violence, and illicit drugs.

       8.      Combs, while celebrated for his business acumen and influence in the entertainment

world, has often been described in a more troubling light as powerful, manipulative, and

problematic. His aggressive tactics, both in business and personal dealings, have drawn criticism,
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with many viewing him as someone who leverages his power to intimidate and control. This darker

side of Comb’s persona has been underscored by the numerous lawsuits and allegations that have

surfaced over the years. Despite his undeniable success, his rise to the top is marred by a reputation

for being ruthless and manipulative, using his influence in ways that have left a trail of legal and

personal controversies including but not limited to the following:

               a. Nightclub Shooting Incident (1999): Combs was embroiled in a high-profile

                   case related to a nightclub shooting in New York, involving his then-girlfriend,

                   Jennifer Lopez, and rapper Shyne. Combs was acquitted of all charges, though

                   the case remains a significant legal event in his career.

               b. Multiple Assault Allegations: Combs has faced several lawsuits related to

                   alleged physical assaults, many of which have been settled out of court.

               c. Business Disputes: Combs has been involved in various business-related legal

                   conflicts, particularly surrounding his Sean John clothing line and other

                   ventures. These disputes often involved contractual disagreements and

                   trademark claims.

               d. Claims by Cassie Ventura: Combs' former girlfriend, Casandra "Cassie"

                   Ventura, filed a lawsuit accusing him of years of physical, emotional, and

                   sexual abuse during their relationship. Cassie alleged repeated instances of

                   assault, coerced sexual acts, and drug use, all contributing to an environment of

                   fear and manipulation.

       9.      Combs particularly fancied the use of the popular date-rape drug Rohypnol, or

GHB, to commit heinous non-consensual acts of sexual violence and rape against countless

victims. Combs often would secretly use the drug in an alcoholic beverage served at his parties,
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typically in a seemingly innocent glass of champagne or a “lemon drop.” Partygoers were forced

to consume the alcoholic beverage, containing GHB, either prior to entering or while at Combs’

party. There are also allegations of Combs dousing victims in lotions or similar body oils, also

laced with GBH, so that the drug would be absorbed through the victim’s skin and make it easier

to take advantage of, exploit, and assault him or her.

       10.     In the past year, numerous civil complaints have been filed by plaintiffs who allege

that they had been sexually abused by Combs between 1991 and 2009. In November 2023, three

lawsuits were filed against Combs under the New York Adult Survivors Act. Cassie Ventura, an

artist signed to Bad Boy, sued Combs in New York for rape and physical abuse. She alleged Combs

facilitated these acts by and through supplying Ms. Ventura with copious amounts of drugs and

urging her to take them, beginning in 2006.

       11.     Joi Dickerson-Neal also sued Combs in New York, alleging Combs drugged her,

sexually assaulted her and secretly recorded the assault in 1991.

       12.     Liza Gardner, whom Combs met at an event hosted by a record label affiliated with

Bad Boy, sued him for raping her and a friend in 1990 or 1991 when she was only 16.

       13.     In December 2023, an anonymous Plaintiff sued Combs in New York for drugging

and gang-raping her in 2003 when she was only seventeen years old. This victim alleged that

employees and business associates of Combs, through their affiliation with Bad Boy enterprise,

lured her to Combs’ home where Combs then raped her.

       14.     In February 2024, Rodney “Lil Rod” Jones, one of Combs’ former producers, sued

Combs for forcing him to engage in unwanted sex acts and sex trafficking, among other

allegations. Mr. Jones alleged that Combs regularly drugged others, including minors, by giving
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them drugs laced with ecstasy (MDMA) and other date rape drugs. Mr. Jones alleged that Combs

in fact drugged him as well in order to commit acts of sexual assault.

       15.     In May 2024, former model Crystal McKinney and April Lampros sued Combs.

Ms. McKinney alleged that Combs drugged and sexually assaulted her at his recording studio in

2003. Mimicking what has now become a known pattern, Combs promised Ms. McKinney to help

her with her modeling career in exchange for engaging in sexual conduct with him. Ms. Lampros,

an intern at Arista Records, which was an owner of Bad Boy, also sued Combs in May 2024 in

New York County Supreme Court for raping her on multiple occasions, secretly filming these acts,

and showing the recordings to multiple people. Ms. Lampros also alleges that Combs ordered her

to take drugs on one occasion before he raped her.

       16.     In July 2024, former adult film star Adria English – who was employed by Combs

as an entertainer at his infamous White Parties that brought together the biggest names in the music

and entertainment industries – sued Combs in the Southern District of New York for sex

trafficking, alleging that he required her to consume drinks laced with ecstasy and secretly

recorded sexual acts.

       17.     In September 2024, singer and songwriter Dawn Angelique Richard also sued

Combs. Richard was employed by Combs as part of the girl group Danity Kane, formed by Combs,

and later as a key member of Combs’ band Diddy – Dirty Money. She sued Combs in New York

for sexual assault, false imprisonment, and for subjecting her to hostile working conditions due to

her gender, including degrading comments and threats. Ms. Richard has alleged that Combs

regularly supplied others including minors with copious amounts of drugs and alcohol, and

subjected them to sexual acts while they were sedated and/or unconscious due to the drugs and

alcohol.
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       18.     In September 2024, a federal grand jury in Manhattan indicted Combs and charged

him with sex trafficking, racketeering and the “creation of a criminal enterprise in which he abused,

threatened and coerced women and others around him to fulfill his sexual desires, protect his

reputation and conceal his conduct.” See United States of America v. Sean Combs, a/k/a “Puff

Daddy,” a/k/a “P. Diddy,” a/k/a “Diddy,” a/k/a “PD,” a/k/a “Love,” Index No. 24 Crim. 542,

Indictment (SDNY), at ¶ 1. The indictment explains that Combs’ abuse of women and minors was

enabled by “the employees, resources and influence of the multi-faceted business empire that he

led and controlled – creating a criminal enterprise whose members and associates engaged in, and

attempted to engage in, among other crimes, sex-trafficking, forced labor, kidnapping, arson,

bribery and obstruction of justice.”

       19.     Combs’ long history of violence against women unequivocally establishes that his

actions are motivated by gender – both men and women. Combs has a profound contempt for

women and a desire to dominate both minors and other men. His conduct shows a longstanding

practice of denigrating, defeating and attempting to humiliate men, women and children. His

practices and desires are different for men, women and children. But his actions are unequivocally

motivated by the victims’ particular gender and age.

       20.     Plaintiff’s allegations herein substantially mirror Combs’ prior conduct as

established through criminal indictments and other lawsuits. Through this case, Plaintiff seeks a

full measure of justice from a man who thought his power, money and influence rendered him

untouchable. Plaintiff joins many other victims by filing this Complaint in hopes their common

voice makes it impossible for Combs to assault another person ever again.

       21.     The conduct complained of in many of the cases to be brought involve others who

facilitated, encouraged, or participated in the conduct alleged.
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                                            PARTIES

        22.     Plaintiff Jane Doe is a female who resides in Tennessee (the city has been left

unpled for anonymity).

        23.     Defendant Sean Combs is a male who, on information and belief, resides in New

York City, through incarceration in the Metropolitan Detention Center in Brooklyn. On

information and belief, at all relevant times Combs owned and/or controlled Bad Boy

Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy Books Holdings, Inc.,

Bad Boy Records LLC, Bad Boy Entertainment LLC, Bad Boy Productions LLC, (collectively

“Bad Boy”), Daddy’s House Recording Studio, Inc., and CE OPCO, LLC d/b/a Combs Global,

f/k/a Combs Enterprises LLC (all together, the “Combs Corporations”). The facts of Combs’

ownership and titles at the Combs Corporations enabled him to commit the unlawful sexual

violence against Plaintiff described herein and/or to harass and subsequently intimidate her into

silence after the rape.

        24.     Defendant CE OPCO, LLC d/b/a Combs Global, f/k/a Combs Enterprises LLC

(“Combs Global”) is a limited liability company incorporated in Delaware that has its principal

place of business at 9255 Sunset Boulevard, 2nd Floor, West Hollywood, California 90069. On

information and belief, all members of Combs Global are citizens of Delaware, New York, and/or

California. On information and belief, Combs Global is an alter ego for Combs and/or a successor

in interest to Combs’ other corporations and/or was established or used by Combs for the purpose

of moving, disposing of, and/or insulating his assets, including in connection with his criminal

activities and to avoid liability. Combs Global currently owns, controls, and/or oversees Bad Boy

and Combs’ other business ventures in the music, fashion, fragrance, beverage, marketing, film,

television, and media industries.
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       25.     As part of his renowned Bad Boy record label and brand, Combs has established

several corporate entities under the “Bad Boy” name over the past few decades, including but not

limited to Bad Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy

Books Holdings, Inc., Bad Boy Records LLC, Bad Boy Entertainment LLC, and Bad Boy

Productions LLC (together, “Bad Boy”). On information and belief, all Bad Boy corporate entities

are alter egos for Combs, are controlled and/or directed by Combs, and/or were established or used

by Combs for the purpose of moving, disposing of, and/or insulating his assets, including in

connection with his criminal activities and to avoid liability. On information and belief, all active

Bad Boy entities are now owned and/or controlled by Combs and/or by Combs Global. Combs

used the Bad Boy premises/recording studio and their ownership and titles at Bad Boy to commit

the unlawful sexual violence against Plaintiff described herein and/or to harass and subsequently

intimidate her into silence after the rape.

               a. Defendant Bad Boy Entertainment Holdings, Inc. is a domestic business

                   corporation incorporated in New York, that on information and belief now has

                   its principal place of business at 9255 Sunset Boulevard, 2nd Floor, West

                   Hollywood, California 90069. Bad Boy Entertainment Holdings, Inc. is part of

                   the Bad Boy enterprise founded and owned by Combs, and on information and

                   belief is now owned and/or controlled by Combs and/or by Combs Global.

                   Combs is listed as the CEO in public filings, with a listed address of 1710

                   Broadway, New York, New York 10019.

               b. Defendant Bad Boy Productions Holdings, Inc. is a domestic business

                   corporation incorporated in New York, that on information and belief now has

                   its principal place of business at 9255 Sunset Boulevard, 2nd Floor, West
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         Hollywood, California 90069. Bad Boy Productions Holdings, Inc. is part of

         the Bad Boy enterprise founded and owned by Combs, and on information and

         belief is now owned and/or controlled by Combs and/or by Combs Global.

         Combs is listed as the CEO in public filings, with a listed address of 1710

         Broadway, New York, New York 10019.

      c. Defendant Bad Boy Books Holdings, Inc. is a domestic business corporation

         incorporated in New York, that on information and belief now has its principal

         place of business at 1440 Broadway, 3rd Floor, New York, New York 10018.

         Bad Boy Books Holdings, Inc. is part of the Bad Boy enterprise founded and

         owned by Combs, and on information and belief is now owned and/or

         controlled by Combs and/or by Combs Global. The CEO listed on public filings

         is Eddie Norward Jr., with a listed address of 1710 Broadway, New York, New

         York 10019, the same address listed for Sean Combs in public filings for Bad

         Boy Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., and

         Daddy’s House Recordings, Inc.

      d. Defendant Bad Boy Records LLC is a Delaware limited liability company that

         on information and belief is headquartered in New York and/or California. On

         information and belief, all members of Bad Boy Records LLC are citizens of

         Delaware, New York, and/or California. On information and belief, Bad Boy

         Records LLC is part of the Bad Boy enterprise and/or a successor-in-interest to

         other Bad Boy Defendants that comprise the Bad Boy enterprise founded and

         owned by Combs. On information and belief, Bad Boy Records LLC is now

         owned and/or controlled by Combs and/or by Combs Global.
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               e. Defendant Bad Boy Entertainment LLC is a New York limited liability

                  company that on information and belief is headquartered in New York and/or

                  California. On information and belief, all members of Bad Boy Entertainment

                  LLC are citizens of New York and/or California. Bad Boy Entertainment LLC

                  is part of the Bad Boy enterprise and/or a successor-in-interest to other Bad Boy

                  Defendants that comprise the Bad Boy enterprise founded and owned by

                  Combs. On information and belief, Bad Boy Entertainment LLC is now owned

                  and/or controlled by Bad Boy Entertainment Holdings, Inc. and/or by Combs,

                  and/or by Combs Global.

               f. Defendant Bad Boy Productions LLC is a New York limited liability company

                  that on information and belief is headquartered in New York and/or California.

                  On information and belief, all members of Bad Boy Productions LLC are

                  citizens of New York and/or California. Bad Boy Productions LLC is part of

                  the Bad Boy enterprise and/or a successor-in-interest to other Bad Boy

                  Defendants that comprise the Bad Boy enterprise founded and owned by

                  Combs. On information and belief, Bad Boy Productions LLC is now owned

                  and/or controlled by Combs and/or by Combs Global.

       26.     Defendant Marriott International Inc. is a domestic business corporation doing

business in New York, that on information and belief now has its principal place of business at

7750 Wisconsin Ave., Bethesda, Maryland 20814. Marriot management was well aware of Combs

and his activities. Marriot management and other personnel “looked the other way” rather than

intervene. Marriot further benefitted and profited from the conduct described herein.
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       27.     Defendants Organizational Does 1-10 are currently unknown entities who were

owned by and/or employed Defendant Combs and enabled the commission of the conduct

complained of herein. As the parties engage in discovery, Plaintiff retains the right to amend the

Complaint to add these entities by name.

       28.     Each of the Combs Corporations (a) aided and abetted Combs in committing the

unlawful sexual violence against Plaintiff described herein, (b) are alter egos for Combs,

completely dominated by him and used for his personal interests and to engage in wrongdoing

which harmed Plaintiff and others, and/or (c) serve or have served as vehicles for Combs to move,

dispose of, and/or insulate his assets, including in connection with his criminal activities and to

avoid compensating the victims of his many crimes, including Plaintiff.

       29.     Each of the Marriott entities conspired with and aided and abetted Combs in

committing the unlawful sexual violence against Plaintiff described herein by serving or have

served as vehicles for Combs to commit said sexual violence by and through use of Marriott’s

premise(s), hotel staff and employees and by profiting from such activities committed by Combs.

                                 JURISDICTION AND VENUE

       30.     This Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1332 because

this case is between citizens of different states, and the amount in controversy exceeds $75,000.

       31.     This Court has specific personal jurisdiction over Defendants because the acts

giving rise to Plaintiff’s claims took place in New York State, and because several of the

Defendants are domiciled in New York State and/or regularly transact business in New York State.

       32.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred in this District.

                                         JURY DEMAND
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       33.     Plaintiff hereby demands a trial by jury on her claims in this action.

                                 FACTUAL ALLEGATIONS

       34.     Combs and his staff regularly invited members of the public to events such as music

video shoots, photoshoots, autograph signings, in and around New York City. One such event took

place in 2004 across the street from Jane Doe’s college campus in Brooklyn, New York. Through

Ms. Doe’s friends and Combs’ accomplices and agents, Ms. Doe received an invitation to Combs’

photoshoot. She was nineteen years old at the time. She was flattered and excited to receive such

an invitation from an individual of Combs’ celebrity and stature.

       35.     Ms. Doe accompanied her friends to the event and discovered that it was a

photoshoot promoting “Da Band,” a recording group Combs signed to his record label, Bad Boy

Entertainment. At the photoshoot, she and one of her good friends, another freshman living in the

dormitory with Ms. Doe, were eventually invited to an after party by Combs’ business associates.

Before leaving for the party, Ms. Doe had met Combs at the photoshoot. Combs told Ms. Doe and

her friend that they should come to his hotel first for a more exclusive party. Ms. Doe and her

friend agreed and were taken to a Manhattan area Marriott hotel by a member of Combs’

entourage.

       36.     Upon arriving at the hotel suite, Ms. Doe noticed that there were a dozen people

there having drinks and listening to music in a relaxed party environment. While attempting to

mingle around the party, Ms. Doe and her friend were suddenly grabbed and taken to a separate

room off from the main party. Ms. Doe believed the man taking them to be a security guard, so

she went with him. But when she asked him where they were going, he simply told her “You know

what you are here for.”
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          37.   After taking Ms. Doe and her friend to the bedroom, the security guard left the room

and locked the door. The only person in the room besides Ms. Doe and her friend was Combs.

Combs gave Ms. Doe and her friend more drinks, then instructed them to imbibe cocaine that he

had prepared for use on the coffee table. Ms. Doe did not want to do the cocaine. Combs continued

getting gradually more aggressive with the two women and eventually began forcibly touch them

without consent. When they resisted, Combs ordered Ms. Doe’s friend to perform oral sex on him

or else he would have them both killed. Ms. Doe’s friend complied as Ms. Doe begged Combs to

allow them to leave. He did not agree.

          38.   Combs soon turned his sights to Ms. Doe and forced her to take her clothes off,

again under the threat of violence. Once she was undressed, Combs forced himself on her and

began to sexually assault her. Combs fondled, molested, and ultimately raped Ms. Doe, all while

she was begging him to stop. Soon, and likely due to Ms. Doe’s cries, the door opened and the

security guard from earlier came in to ask if everything was alright. Ms. Doe’s friend took the

opportunity to rush out of the recently locked door. Ms. Doe however, could not move as Mr.

Combs was still on top of her.

          39.   Combs got off of Ms. Doe to talk to the security guard, he left the room but told

Ms. Doe to stay otherwise she would be killed. After about half an hour of sitting in the dark room

by herself, another security guard came and told her that she could leave. Ms. Doe gathered her

things and left immediately and called a taxi back to her dormitory in downtown Brooklyn.

                              FIRST CAUSE OF ACTION
    (Violation of New York City Victims of Gender-Motivated Violence Protection Act)
                                     (All Defendants)

          40.   Plaintiff hereby incorporates each of the foregoing paragraphs as if fully set forth

herein.
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       41.     By forcing sexual contact onto Plaintiff, specifically by physically assaulting and

then forcibly raping Plaintiff, Defendant Combs committed a “crime of violence motivated by

gender” under the Victims of Gender-Motivated Violence Protection Act (“VGMVPA”) as defined

in New York City Administrative Code § 10-1103.

       42.     The requirement that the crime of violence be committed because of gender or on

the basis of gender, and due, at least in part, to an animus based on the victim’s gender is satisfied

because Defendant Combs forced Plaintiff to engage in a sexual interaction without consent.

       43.     The Combs Business enabled Combs to commit the crime of violence motivated by

gender because Combs sexually assaulted Plaintiff at a hotel doing business with the Combs

Business. On information and belief, Combs Businesses routinely committed sexual assault and

gender-motivated violence, as detailed in other civil lawsuits, to further the business purpose of

Combs’ enterprise. Given Combs’ long- standing pattern and practice of committing sexual

violence against women, the Combs Business had and/or should have had knowledge of Combs

using such venues for this unlawful conduct, and did nothing to stop it.

       44.     The Combs Business enabled Combs to commit the crime of violence motivated by

gender by failing to, among other things, protect Plaintiff from a known danger and/or have

sufficient policies and procedures in place to prevent sexual assault and/or train their employees

on identifying and preventing sexual assault. Given long-standing pattern and practice of

committing sexual violence against women, including on premises owned and/or operated and/or

used by Defendants for business purposes, the Combs Corporations had and/or should have had

knowledge that Combs was a danger to Plaintiff, and did nothing to stop Combs.

       45.     The Combs Business enabled Combs to commit the crime of violence motivated by

gender by failing to properly supervise. The Combs Business had knowledge and/or should have
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had knowledge of Combs’ widespread and well-known practice of committing sexual assault and

gender-motivated violence, including on premises owned and/or operated and/or used for business

purposes by Defendants, and did nothing to stop it.

       46.     The Combs Corporations further enabled Combs to commit the crime of violence

motivated by gender by actively placing, maintaining, and/or employing Combs in positions of

power and authority, despite the fact that they knew and/or should have known that Combs had a

widespread and well-known practice of committing sexual assault and gender-motivated violence,

including on premises owned and/or operated by Defendants. Combs used his titles and authority

conferred by the Combs Business, including as CEO, Founder, and Chairman to facilitate and

perpetuate the violent assault on Plaintiff, and to intimidate and force Plaintiff to keep quiet in

subsequent years.

       47.     The Marriott defendants further enabled Combs to commit the crime of violence

motivated by gender by turning a willful blind eye to his obvious conduct, including sexual

violence against others; facilitating a venue and premise, including but not limited to a hotel room,

to Combs and his associates in order to permit him to commit such acts of sexual violence; and

profiting from Combs’ sexual violence through room rates, room service and other monetary

benefits paid by and through Combs and his corporations. There can be no doubt that Combs and

his conduct was well known; he routinely had large parties at hotel venues. Numerous people,

most of which were not guests at the hotel, would come and go. Many would leave intoxicated and

disoriented. Large volumes of alcohol and drugs were consumed. Marriot profited from this

conduct, rather than intervene and stop it.
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       48.     On information and belief, Plaintiff alleges that Defendant Organizational Does 1

through 10, inclusive, are other parties not yet identified who have enabled Combs to commit the

crime of violence motivated by gender, in the ways articulated above and/or in other ways.

       49.     Plaintiff alleges the existence of a conspiracy in order to connect the actions of the

individual defendants with the actionable, underlying tort of VGMVPA, as the actions described

herein were coupled with an agreement between all Defendants as co-conspirators regarding the

tort and overt actions in furtherance of that agreement as further described herein.

       50.     As a result of Defendants’ actions, Plaintiff suffered damages in an amount to be

determined at trial and pursuant to the fee-shifting provision of the statute.

       51.     This legal action has been commenced within the statutory timeframe provided by

the two-year look-back window for VGMVPA claims. See New York City Administrative Code

§ 10-1105.

       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants as follows:

               a. Awarding compensatory damages for all physical injuries, emotional distress,

                   psychological harm, anxiety, humiliation, physical and emotional pain and

                   suffering, family and social disruption, and other harm, in an amount to be

                   determined at trial;

               b. Awarding punitive damages in an amount to be determined at trial;

               c. Awarding attorneys’ fees and costs pursuant to any applicable statute or law;

               d. Awarding pre- and post-judgment interest on all such damages, fees, and/or

                   costs;
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            e. Attaching any and all of Defendants’ real property and other assets located in

               the State of New York pursuant to Federal Rule of Civil Procedure 64; and

            f. Awarding such other and further relief as this Court may deem just and proper.

Dated: OCTOBER 23, 2024

                                          Respectfully submitted,

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